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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 EASTERN DIVISION


CHRISTOPHER LAMAR RUSH                                                               PETITIONER

v.                                                                                 No. 1:01CR55-B

UNITED STATES OF AMERICA                                                          RESPONDENTS


                                  MEMORANDUM OPINION

        The petitioner Christopher Lamar Rush is presently in the custody of the United States

Bureau of Prisons and seeks habeas corpus relief pursuant to 28 U.S.C. § 2255. For the reasons

set forth below, the instant petition for a writ of habeas corpus shall be dismissed as untimely

filed under 28 U.S.C. § 2255.

                                  Facts and Procedural Posture

        The petitioner pled guilty in the United States District Court for the Northern District of

Mississippi to the charge of conspiracy to distribute crack cocaine on September 26, 2001. He

was sentenced December 19, 2001, to 120 months imprisonment, three years supervised release,

and a special assessment of $100.00. The court entered judgment February 7, 2002. The

petitioner did not appeal the judgment. He filed the instant petition for a writ of habeas corpus

with the court September 15, 2005.

                                            Discussion

        The Antiterrorism and Effective Death Penalty Act [AEDPA] governs decision in this

proceeding. The AEDPA added a limitations period to proceedings under § 2255 that provides

in pertinent part:
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       A 1-year period of limitation shall apply to a motion under this section. The
       limitation period shall run from the latest of –

       (1) the date on which the judgment of conviction becomes final . . . .

28 U.S.C. § 2255.

       Thus, defendants seeking habeas corpus review under 28 U.S.C. § 2255 face a one-year

period of limitation that runs, unless tolled, from the date on which the petitioner’s conviction

became final. United States v. Wynn, 292 F.3d 226 (5th Cir. 2002). The one-year limitation is not

a jurisdictional bar, however, and it can be tolled in appropriate circumstances. Id. The burden

of proving that the statute of limitations has been tolled is on the petitioner. Phillips v. Donnelly,

216 F.3d 508, 509-10 (original opinion), and 223 F.3d 797 (5th Cir. 2000) (opinion issued

amending language on rehearing).

       The petitioner’s conviction became final on May 8, 2002, ninety days after the amended

judgment was entered on February 7, 2002. Bell v. Maryland, 378 U.S. 226, 232 (1964) (time

period within which a petitioner may petition for a writ of certiorari to United States Supreme

Court must be considered in calculation of habeas corpus deadline). Thus, the deadline for the

petitioner to file the instant petition expired May 8, 2003 – one year from the date his conviction

became final. The instant petition was filed with the court September 15, 2005. Under the

“mailbox rule,” the date of filing for pro se prisoners is set to the date the inmate places the legal

paper in the hands of prison officials for mailing. Coleman v. Johnson, 184 F.3d 398, 401, reh’g

and reh’g en banc denied, 196 F.3d 1259 (5th Cir. 1999), cert. denied, 529 U.S. 1057, 120 S. Ct.

1564, 146 L.Ed.2d 467 (2000) (citing Spotville v. Cain, 149 F.3d 374, 376-78 (5th Cir. 1998)).

The petitioner did not, however, date his federal petition for a writ of habeas corpus; as such, the



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court shall allow three days for mailing and finds that the instant petition was filed September 12,

2005. Thus, the instant petition for a writ of habeas corpus was filed 858 days after the deadline

for filing expired.

          The petitioner has set forth no facts or argument to invoke equitable tolling, which

“applies principally where the [petitioner] is actively misled by the [state] about the cause of

action or is prevented in some extraordinary way from asserting his rights.” Rashidi v. American

President Lines, 96 F.3d 124, 128 (5th Cir.1996). Finally, mere ignorance of the law by an

incarcerated pro se prisoner does not justify equitable tolling of the statute of limitations.

Alexander v. Cockrell, 294 F.3d at 630 (citing Fisher v. Johnson, 174 F.3d 710, 712 (5th Cir.

1999)).

          Before the court directs the government to respond to a petition under 28 U.S.C. § 2255,

the court must make an initial review of the petition, and, if the petitioner is not entitled to relief,

the petition must be dismissed. Rule 4(b), Rules Governing Section 2255 Proceedings for the

United States District Courts. The instant petition was filed more than two years after the filing

deadline expired, and the petitioner offers no rationale under which the court might apply

equitable tolling. As such, the instant petition for a writ of habeas corpus shall be dismissed

with prejudice and without evidentiary hearing as untimely filed under 28 U.S.C. § 2255. A final

judgment consistent with this memorandum opinion shall issue today.


          SO ORDERED, this the 3rd day of June, 2006

                                                                /s/ Neal Biggers

                                                        NEAL B. BIGGERS
                                                        SENIOR U. S. DISTRICT JUDGE


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